                    Case 2:15-cr-00164-TLN Document 68 Filed 06/30/17 Page 1 of 3


     The Law Office of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
2    Sacramento, California 95814
     (916) 447-1192 office
3    ohedberg@yahoo.com
4

5

6         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

7                                                CALIFORNIA

8

9

10
                                                     Case Number: 2:15-CR-164-TLN
11   THE UNITED STATES OF AMERICA,
                                                     STIPULATION AND ORDER TO VACATE
12                      Plaintiff,                   MOTION DATE
13   V.                                              Date: July 27, 2017
                                                     Time: 9:30 am
14   MANUEL MARZIAL,                                 Judge: Hon. Troy L. Nunley
15                      Defendant.

16

17

18

19

20

21                     Plaintiff United States of America, by and through its counsel of record, and the
22   Defendant, by and through Attorney Olaf Hedberg, hereby stipulate as follows:
23             1.       Attorney Hedberg believes that certain linguistic issues exist regarding Defendant
24   Manuel Marzial's ability to understand the Spanish language used by the interpreters in this case
25
     so far;

                                                        1
                 Case 2:15-cr-00164-TLN Document 68 Filed 06/30/17 Page 2 of 3



1           2.      On June 28, 2017 at about 4 pm Attorney Hedberg was notified by AUSA Ross

2    Naughton of the identity of an individual who may speak the appropriate Zapotec language and

3    could potentially be used as an interpreter in the matter at bar. At the same time Mr. Naughton
4    notified Interpreter Coordinator Yolanda Riley-Portal of the same individual;
5           3.      On June 29, 2017 Attorney Hedberg spoke with Ms. Riley-Portal regarding this
6    individual. During that contact Ms. Riley-Portal indicated that the potential interpreter may be
7    appropriate, however she did could not make that determination until the potential interpreter has
8    had an opportunity to speak with Defendant Marzial;
9
            4.      As a result, Attorney Hedberg feels that he cannot currently ethically represent to
10
     the Court that no appropriate interpreter is available, which is the basis for Defendant's motion;
11
            5.      Attorney Hedberg needs time to explore this new interpreter and determine if the
12
     newly identified individual can perform appropriate interpretation services;
13
            6.      The briefing schedule previously filed with the Court sets June 29, 2017 as the
14
     date for the Government's reply to Defendant's Motion to Dismiss;
15
            7.      Therefore the parties stipulate as follows:
16
                    a. The Motion to Dismiss filed by Defendant set for hearing on July 27, 2017 at
17
     9:30 am be taken off calendar, and the matter be set for a Status Conference at that date and time;
18
                    b. The Briefing Schedule previously agreed to by the parties and approved by the
19
     Court be vacated. If the Motion is to be renewed the parties will file a new hearing request and
20
     proposed briefing schedule for approval by the Court;
21
                    c. This stipulation does not constitute a waiver by the Government of their right to
22
     respond to any motion either filed or renewed by Defendant based on alleged inadequacy of
23
     interpreter services;
24

25


                                                      2
                 Case 2:15-cr-00164-TLN Document 68 Filed 06/30/17 Page 3 of 3



1                   d. This stipulation does not constitute a waiver by Defendant of any right to an

2    appropriate interpreter or any motion based on alleged inadequacy of available interpreter

3    services;
4                   e. Time has previously been excluded until July 27, 2017 at 9:30 am.
5

6    IT IS SO STIPULATED
7    Respectfully submitted
8    /s/ Olaf W. Hedberg                                                /s/ Ross Naughton
9    Olaf W. Hedberg                                                     Ross Naughton
     Attorney for Manuel Marzial                                 Assistant United States Attorney
10

11

12

13

14

15
                                                  ORDER

16
            It is hereby ordered that the July 27, 2017 9:30 am Motion to Dismiss and the previously
17
     established Briefing Schedule be vacated without prejudice to either party and that the matter be
18   set for a Status Conference at that date and time.
19

20

21
     IT IS SO ORDERED.
22

23
     Dated: June 29, 2017
24                                                             Troy L. Nunley
                                                               United States District Judge
25


                                                      3
